USCA4 Appeal: 07-4115              Doc: 101              Filed: 09/09/2008            Pg: 1 of 3
                                                              Reset Form


                                              UNITED STATES COURT OF APPEALS
                                                  FOR THE FOURTH CIRCUIT

                                                        TRANSCRIPT ORDER

                                  READ INSTRUCTIONS ON PAGE TWO BEFORE COMPLETING

              U.S. v. Lavon Dobie
  Case Style __________________________________________________________________________________________________
                8:04-CR-235-RWT-9
  Dist. Ct. No. _____________________            Maryland
                                        District ____________________________________________________________________
                               12/22/06
  Date Notice of Appeal filed _____________________                       07-4115
                                                      Ct. of Appeals No.________________________________________________
                                         Tracy Dunlap
  Name of Court Reporter/Electronic Rec.___________________________________________________________________________
                        6500 Cherrywood Lane, Greenbelt MD 20770
  Address of Reporter___________________________________________________________________________________________

  TO BE COMPLETED BY PARTY ORDERING TRANSCRIPT - DO NOT SUBMIT FORM UNTIL FINANCIAL ARRANGEMENTS HAVE
  BEEN MADE WITH THE REPORTER. IF THIS COMPLETED FORM IS NOT MAILED TO THE COURT REPORTER AND A COPY FILED
  WITH THE DISTRICT COURT CLERK WITHIN TEN (10) DAYS AFTER FILING NOTICE OF APPEAL, THE APPEAL WILL BE SUBJECT
  TO DISMISSAL PURSUANT TO FOURTH CIRCUIT LOCAL RULE 45. ADDITIONAL COPIES OF THIS FORM MUST BE FILED WITH
  TWO COPIES OF APPELLANT'S DOCKETING STATEMENT WITH THE CLERK OF THE COURT OF APPEALS WITHIN FOURTEEN
  DAYS OF FILING THE NOTICE OF APPEAL. A SEPARATE TRANSCRIPT ORDER MUST BE COMPLETED FOR EACH REPORTER
  FROM WHOM A TRANSCRIPT IS REQUESTED.

  A. This constitutes an order of the transcript of the following proceedings [check appropriate box(es) and indicate total number of
     pages].

                    PROCEEDING                                             HEARING DATE(S)

           ~ Voir Dire                                  ______________________________________________________
           ~ Opening Statement (Plaintiff)              ______________________________________________________
           ~ Opening Statement (Defendant)              ______________________________________________________
           ~ Closing Argument (Plaintiff)               ______________________________________________________
           ~ Closing Argument (Defendant)               ______________________________________________________
           ~ Opinion of Court                           ______________________________________________________
           ~
           ✔ Jury Instructions                          08/08-09/2006
                                                        ______________________________________________________
           ~ Sentencing                                 ______________________________________________________
           ~ Bail Hearing                               ______________________________________________________
           ~
           ✔ Pre-Trial Proceedings (specify)            1/23/2006
                                                        ______________________________________________________
             suppression hearing
             __________________________                 ______________________________________________________
           ~ Testimony (specify)                        ______________________________________________________
             __________________________                 ______________________________________________________
           ~
           ✔ Other (specify)                            ______________________________________________________
              charge conference
              __________________________                7/31/2006
                                                        ______________________________________________________

                                  600
           TOTAL ESTIMATED PAGES _________________________

  NOTE: FAILURE TO SPECIFY IN ADEQUATE DETAIL THOSE PROCEEDINGS TO BE TRANSCRIBED IS GROUNDS FOR
        DISMISSAL OF AN APPEAL.
  B.    I certify that I have contacted the court reporter (or coordinator if electronic recording from the District of Maryland) and
        satisfactory financial arrangements for payment of the transcript have been made.
        ~ Private funds. (Deposit of $________ enclosed with court reporter's copy. Check No. __________.)
        ~ Criminal Justice Act. A CJA Form 24 has been submitted to the district judge. (Attach a photocopy of the CJA 24 to the
            court of appeals' and reporter's copies. The CJA 24 does not have to be approved prior to submission of a copy.)
        ~ Government expense (civil case). IFP has been granted and a motion for transcript at government expense has been
            submitted to the district judge.
        ~ Advance payment waived by court reporter.
        ~
        ✔ Federal Public Defender - no CJA Form 24 necessary.

        ~ United States appeal - copy of litigation expense form attached, if applicable.

  Signature __________________________________________Typed
            /s G. Alan DuBois                                               G. Alan DuBois
                                                                      name______________________________________________
           150 Fayetteville St., Suite 450. Raleigh, NC 27601
  Address___________________________________________________________________________________________________
  Telephone No. __________________________________
                 (919) 856-4236                                                     09/05/08
                                                            Date Mailed to Reporter________________________________________
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                           INSTRUCTIONS TO APPELLANT FOR ORDERING TRANSCRIPT

     You have ten days after filing your notice of appeal to order transcript from the court reporter and file a copy of
     this form with the clerk of the district court. If copies of this form (and CJA Form 24 if applicable) are not
     attached to the docketing statement filed in the Court of Appeals and served on opposing counsel within 14 days
     of the Court’s docketing notice, the appeal will be subject to dismissal pursuant to Fourth Circuit Local Rule 45.
     A separate transcript order (and separate CJA Form 24 if applicable) must be completed for each reporter from
     whom a transcript is requested.

     DO NOT SUBMIT THIS FORM UNTIL YOU HAVE MADE SATISFACTORY FINANCIAL
     ARRANGEMENTS WITH THE COURT REPORTER OR SUBMITTED A CJA FORM 24 TO THE
     DISTRICT COURT JUDGE.

     1.      Contact each court reporter involved in reporting the proceedings, obtain an estimate of total pages, and
             make arrangements for payment. If you are unsure of the reporter(s) involved, contact the district court
             clerk's office for that information. A separate transcript order (and separate CJA Form 24 if applicable)
             must be prepared for each court reporter from whom a transcript is requested.

     2.      If payment is waived by the reporter until completion of the transcript, the appellant must remit full
             payment within a reasonable period of time upon receipt of the reporter's invoice.

     3.      If this was an electronic recording from the District of Maryland, contact the district court reporter
             coordinator for further instructions.

     4.      Transcripts ordered under the Criminal Justice Act do not include opening and closing statements, voir
             dire, or jury instructions unless prior special authorization has been received by the appellant. A separate
             CJA Form 24 must be completed for each court reporter and submitted to the district court judge for
             approval. In multi-defendant cases involving CJA defendants, only original transcripts should be
             purchased from the court reporter(s). Requests for copies will be arranged by the district court using
             commercial printers. Contact the district court reporter coordinator or district court clerk's office for
             further instructions.

     5.      Complete the Transcript Order in its entirety.

     6.      Distribute the Transcript Order as follows:

             court reporter   --      transmit original to court reporter within 10 days of filing notice of appeal
             district court   --      file copy in district court clerk's office within 10 days of filing notice of appeal
             court of appeals --      attach copy to Docketing Statement filed in Court of Appeals and served on
                                      opposing counsel within 14 days of filing notice of appeal. For CJA attorneys, a
                                      copy of the CJA Form 24 must also be attached. The CJA Form 24 need not be
                                      approved by the district judge before being attached to the Transcript Order
                                      submitted to the court reporter and Court of Appeals.

     IF THE TRANSCRIPT ORDER IS NOT FILED WITHIN THE TIME PERIODS SET FORTH ABOVE,
     PROCEDURES WILL BE INITIATED TO DISMISS THE APPEAL FOR FAILURE TO PROSECUTE.

     If you have further questions, contact the Clerk's Office, U.S. Court of Appeals (804-916-2700).
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                                    TRANSCRIPT INFORMATION


        This information sheet is designed to highlight areas that are often missed when transcripts are
        ordered. Complete information can be found in the instructions that accompany the transcript
        order form and in the FEDERAL RULES OF APPELLATE PROCEDURE.

        Ø A copy of the transcript order must be filed in the Court of Appeals to have court reporter
        deadlines set and monitored, including any transcript ordered by government counsel.

        Ù If you are unsure of the court reporter, check the district court docket sheet or contact the
        district court.

        Ú A separate transcript order must be completed for each court reporter and include dates for
        each hearing requested.

        Û In criminal appeals seeking review of application of the sentencing guidelines, a transcript of
        the sentencing hearing must be ordered.

        Ü Court-appointed counsel, Federal Public Defenders excluded, must attach a separate copy of a
        CJA 24 to the transcript order filed for each court reporter. The original of each CJA 24 is filed
        with the district court.

        Ý All counsel, including retained counsel, must complete Section B of the transcript order.

        Þ If appellee wishes to obtain a copy of any transcript which has been ordered by appellant, the
        copy must be ordered directly from the court reporter.

        ß If appellee finds a transcript of other parts of the proceedings to be necessary, the appellee
        must file and serve a designation of those additional parts on appellant within 10 days after
        service of the transcript order. If appellant has not ordered the additional parts within 10 days
        and notified the appellee, appellee may within 10 days either order the parts or move in the
        district court for an order that requires appellant
        to do so.

        à In multi-defendant cases involving CJA defendants, no more than one original transcript
        should be purchased from the court reporter on behalf of CJA defendants. One of the appointed
        counsel or the district court should arrange for the duplication, at commercially competitive
        rates, of enough copies of the transcript(s) for each of the CJA defendants for whom a transcript
        has been approved.

        á Counsel may not use “condensed” transcript (wherein several pages of transcript appear on a
        single sheet) in preparing the joint appendix, and therefore should obtain full-size transcript from
        the court reporter.
